UNITED STATES DisTRICT COURTS US Document 8 Filed 02/17/23 Page 1 of 1 PagelD #: 44
EASTERN DISTRICT OF NEW YORK

JASON ODOM, ON BEHALF OF HIMSELF AND ALL OTHERS SIMILARLY N
COURT DATE & TIME: AT

 

SITUATED INDEX #: 23-CV-828
DATE FILED:
Plainti Job #: 574521
e Client File#

INTERNATIONAL TRENDZ LLC AND ISMAIL QADAR LEVINE & BLIT PLLC
350 FIFTH AVENUE STE 4020
NEW YORK, NY 10118

Defendant
CLIENT’S FILE NO.: AFFIDAVIT OF SERVICE

STATE OF NEW YORK: COUNTY OF NASSAU ss:

1 Ricardo Curo, being duly sworn deposes and says deponent is not a party to this action and is over the age of eighteen years and resides in
the State of New York.

That on 2/13/2023 at 9:31 PM at 119-22 204TH ST, 1ST FL, ST ALBANS, NY 11412 deponent served the within SUMMONS IN A CIVIL
ACTION & COMPLAINT on ISMAIL QADAR therein named

After your deponent was unable with due diligence to serve the recipient by personal delivery, service was made by delivering a true copy
thereof to and leaving with RAUL MAOBETH CO TENANT a person of suitable age and discretion at 119-22 204TH ST, IST FL, ST
ALBANS, NY 11412 said premises being the recipient’s actual place of abode within the State of New York.

Deponent completed service by depositing a copy of the documents listed above on 02/14/2023 in a postpaid, properly addressed envelope by
first class mail, bearing the legend Personal & Confidential and not indicating legal action, in an official depository under the exclusive care
and custody of the United States Post Office in the State of New York.

Mailing was made to 119-22 204TH ST, IST FL, ST ALBANS, NY 11412

Said documents were conformed with index number endorsed thereon.

A description of the person served on behalf of the defendant is as follows:

Approx Age: 51 - 65 Yrs., Approx Weight: 161-200 Lbs., Approx Height: 5' 4" - 5' 8", Sex: Male, Approx Skin: Brown, Approx Hair:
Black

Other:

Deponent spoke to RAUL MAOBETH

Inquired as to the ISMAIL QADARs place of residence and received a positive reply and confirmed the above address of ISMAIL QADAR
and asked whether ISMAIL QADAR was in active military service of the United States or the State of New York in any capacity, or is a
dependant of anyone in the military and received a negative reply and that the ISMAIL QADAR always wore civilian clothes and no military
uniform. The source of my information and the grounds of my belief are the conversations and observations above narrated. Upon
information and belief I aver that the ISMAIL QADAR is not in the military service of New York State or of the United States as that the term
is defined in either the State or in Federal statutes.

Sworn to before me on 2/ 15, / @

EUGENE SOKOLOV #01S06434174
Notary Public State of New York

RICHMOND County, Commission Expires 05/31/2026 Ricardo Curo
2034227

 

 

SUPREME JUDICIAL SERVICES, INC. 371 MERRICK ROAD - ROCKVILLE CENTRE, N.Y, 11570 Lic# 1092373
